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CaSe 18-50609-btb Doc 15 Entered 06/11/18 09:16:58 Page 1 of 10

ROBERT E. OPERA »- Califomia Si'ate Bar No. 101 132

ropera@ch,hlaW.com
WINTHROP COUCHOT
GOLUBOW HOLLANBER, LLP
1301 Dove Street, Suite 500
Newport Beach, CA 92660

Telephone: (949) 720~4100!Facsimile: (949) '?20-4111

STEPH]EN R. I:~IAR.RI`S - N<:Vada State Bar NO. 00]463

Steve@han'iSfawreno.com
HARRIS LAW PRACT.ICE LLC
6151 Lakeside Driv@, Suite 2100
Reno, NV 895'11

Telephone: (775) 786-7600

[Proposed] Gene.ral fnsc)}vency Counsel
for Debtor and Debtol.'-in~§)ossession

UNI'[`ED STATES BANKRUPTCY CUURT

})ISTRICT OF NEVAI)A

In re:

X.»TREME BULLETS, lNC_, a N€vada
corpoz‘ation,

Debtor and

Debtol'~in~l°ossessic)n.

 

 

 

 

Case Nc). lS-§G(>O‘)~btb

Chaptez' ll Pz‘oceeding

DECLARATION GF DAVID C. HOWELL
IN S`UPP()RT OF DEB'I`OR’S M()TIGN
F()R ORDER AUTHORIZING JOINT
AIJMINISTRATI()N UF RELATED
CHAPTER 11 CAS§L`S

[H U.S.C.§ 105; Fed. R. Bankr. P. 1015;
LR 1015(§) and 300}(€)}
DATE:
TIM`E:
EST. 'I`IME FOR HEAR,ING:
PLACE: Cc)urtroom 2 (5“"!"]001‘}
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300 300th Street
Reno, NV 89509

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Case 18-50609-btb Doc 15 Entered 06/11/18 09:16:58 Page 2 of 10

DECLARATI_ON ()F DAVID C. HOWELL

I, David C. I~Iowell, declare and state:

1. The following matters are Witliin my own knowledge and, if called as a Witness, 1
could and Wottld competently testi;ii_,/ thereto

2. Tliis declaration is offered in support ol" the l\/Iotion for Order Autliori.zing Joirlt
A.dministration of Related Case; l\/lemorandum of Points and Anthorities (“l\/lotion”) filed by X~t
'[`reni.e Btlllets, Inc., a Nevada corporation Capitalized terms not defined herein have tile same
meaning ascribed in the Motion..

3. On lone 8, 2018, tire Related Delztors filed voluntary petitions for relief under
Chapter 11 of the United States Bankruptey Code.

41. l am the principal of each of the Related .Debtors. 1 own 95% of the issued and
outstanding shares of stock in Howell Munitions & Teei'inology, l_ne. (“HM`T”). HMT, in turn, is
the sole shareholder of the following Related Debtors: X~Trem.e Bullets, Inc, (“X»l`reme”);
Clearwater Bullet, lnc. (“Clearwater”); Annno lsoad Worldwide, lnc. (“‘ALW”); and Howeli
Machiiie. Hl\/ll` owns 100% of the membership interests in lireedorn Munitions, LLC
("‘Freedom”). l own 100% of the membership interests in l,ewis»Ciari< Amninnition Components,
LLC (“l,CAC”), and 90% of the membership interests in Coniponents Exehange, LLC
("'Components Exchange"’).

5. A_ description of each of the Related Debtors and its operations is set i`oitli
hereinbelow.

a. _l;l_lg_/ll. H_MT is the parent company of Related Del)tors X~'l`renie, Clearwater__
A.LW, l~lowell Macli.ine and Freedom. W hile Related Debtors X~Trenie,
Clearwater, Al;W, }-lowell Machine and l?reedom are legal entities separate from
HMT, such Related Debtors have operated at all times on a consolidated basis

b. X-'l`reni.e. X-'I`reme is a Nevada corporation located in Carson Ci'ty, Nevada. X»
"l`reme is in the business of manufacturing bullets X~'l`reme’s bullets are sold to
wholesale customers and to online customers via the xtreniebollets.com Website.

X»Treme holds a federal license to manufacture ammunition X»'.l`reme operates

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Case 18-50609-btb Doc 15 Entered 06/11/18 09:16:58 Page 3 of 10

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6.

from two buildings located in Carson City, Nevada, both of which are leased by
I-ll\/lT, and one of which is owned by ine.

Clearwater. Clearwater is in the business of manufacturing bullets Clearwater’s
bullets are sold to wholesale customers and to online customers via the
xtrem_ebullets.com websitc. Clearwater operates from a facility located in
Lewiston, idaho which is leased by I`~IMT l`rom me.

A__li_`Wm. ALW is in the business of manufacturing anunoload machines and other
machines for resale to third-party customers ALW operates in leewiston, idaho
from buildings leased by HMY litem me.

l~lowell Machine. Howeli i\/lacltine is in the business of fabricating parts that are
used to build the ammoload machines manutactured by ALW and to maintain the
other machinery and equipment owned by the other Related Debtors. `li`owell
Macliine shares with ALW facilities in Lewiston: idaho leased by lell\/l"l` from ine.
Freedom. Frecdom is in the business ot` selling ammunition Freedom sells its
products online via the ti‘eedommunitions.com website. Freedom also had a retail
location in l~louston, 'l`exas that sold ammunition, but that location recently Was
closed

l_-(_:_A_Q. LCAC is an idaho limited liability company5 but no longer conducts
business operations LCAC still owns machinery and equipment

Components Excliange. Components Excliange manufactures and assembles
arnniunition, and sells its ammunition and components to wliolesale, original
equipment manutacturers and online customers via its ammovalley.com and
reloadingvailey.com websites. Cornponents Exchange operates in Pccl<, ldalio
from buildings leased front me.

in 2016, the Related Debtors started having tinancial dit`ticuities. l`he causes of

the Related .Debtors’ financial difficulties include the following

H.

l:`,xpansion of Onerations. in 2016, tire Related Debtors were expanding rapidly

with the purchase of two case manui"`acturing machines and the building of

 

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Case 18-50609-btb Doc 15 Entered 06/11/18 09:16:58 Page 4 of 10

7.

supplemental machines to complete the case manufacturing process rl`he Related
.Debtors also Wei'e building amtnoloading machines and other machines to enhance
operations The substantial cash outlays made by the Related Debtors in this
regard proved to be a strain on the Related Del)tors’ liquidity

Decline in Aminunition Marl<etplace. in 2tll 6, the Related Debtors built up
inventory in anticipation that Hillary Clinton would Win the presidential election in
ZOl 6 (`Lg, purchases of guns and ammunition generally increase during the
administrations of l)einocratic presidents based upon soine gun owners’ concerns
that Dernocrat.ic administrations Will impose stricter gun control iaws). Gther
ammunition mant'ifacturers similarly built increased inventories in anticipation of
l\/ls. Clinton’s winning the ,?.Ol 6 presidential election When President l`rtrrnp Was
elected, the demand i"or ammunition in the marketplace decreased significantly
With an oversupply of ammunition in the marketplace the price of ammunition
declined signilicantly.

Eniplovinent ot`NeW l’resident. ln lanuary 201?, the Related Debtors hired clausen
lones to serve as the president oi:` the .Related Debtors. Mr. .l ones proved to be an
unsatisfactory president h/lr. .lones resigned on or about liebruary lS, 2018.

Thus, commencing in 2016, and in 20] 7, the Related Debtors Were overburdened
Wit:h debt based upon a raniping up of the Related Debtors’ ope.rations, had too
much manufacturing capacity; and faced a declining market and declining prices
l"or their annnunition products As a result, in 2017, the Rclated Debtors Were
unprolitable and experienced significant cash flow dit`liculties.

Zions Fir'st l\lational Bank (“Banl<i") is the primary prepetition secured lender for

all Related Debtors except Cornponents Exchange. On or about l\lovember l9, 2014, the Bank,
advanced a revolving loan and four term loans to all Related Debtors (except Coinponents
Exchange), to two-non debtor entities, Tvvin River Con.tract l..oading, lnc., and Big Canyon
Env_ironm_ental, Ll;C, and to me (collectiveiy, “Borrowers”). ()n or about July 27, 2015, the Banlr

advanced a fifth term loan to the Borrovv'ers. Cornponeu.ts Exchange Was not a borrower under

 

 

 

Case 18-50609-btb Doc 15 Entered 06/11/18 09:16:58 Page 5 of 10

any ofsuch loans, but, on or about August 31, 203 6, Compon.ents Bxchange granted to the Bank a
security interest encumbering its assets in order to provide additional collateral to the Bank.

8. In 2016, the Borrowers failed to comply Witli certain financial covenants contained
in the Bank loan agreements Moreover, the revolving loan became due on .iuly 27, 2016, and the
Bank declined to extend the revolving loan. Tlie Bank. alleges an outstanding balance owed by
the Borrowers in the approximate amount oi"$lo.? miliion.

9“ T.he Borrowers acted diligently to address their financiai difficulties ln 20} 7, the
Borrowers downsized their businesses The Bot'rowers liquidated a significant amount of their
inventory in order to generate cash. The Borrowers also undertook two significant reductions in
their Work:l"orces, and reduced other operating expenses in order to attempt to return to
prolitabiiity.

l{). Iri addition, in 2017, the Borrowcrs Wori<ed with Cascadia. Capital to raise debt or
equity funding }'Iowever, since the ammunition market was oversaturated with supply and prices
in tire ammunition market Were depressed, the only proposals that were obtained from potential
funding sources were deemed to be unsatisfactory

l I. In or about Aprii 20}8, the relationship between the Borrowers and the Ban.k
deteriorated In or about Aprii 2018, the Bank demanded that l step aside as president or
managing member of the Borrowers, and that a chief restructuring officer be appointed to manage
the business ot`tiie Borrowers. 'I`he Banl< rejected a proposed chief restructuring officer proposed
by the Borrowers, and required that the Bon‘owers consent to the appointment ot` tire chief
restructuring officer dictated by the Bank, or the Bank Would pursue its iegaf remedies against the
Borrowers. Based upon the Bani<’s th.reats, the Borrowers believed that they had no choice but to
employ the chief restructuring o't`ticer demanded by the Bank, and so, on or about April 20, 2018,
the Borrowers executed that Cliiet`Restructuring Ot`ticer Ag):eement (“CRO Agreernent”)
required by the Bank.. in accordance Witli the provisions of tire CRO Agreenient, l agreed to step
aside as president or managing member of the Borrowers, and CFO Solutions LLC Was appointed

to act as chief restmcturing oii`ticer ot`the Borrowers (“Bank-Appointed CRO”).

 

 

 

Case 18-50609-btb Doc 15 Entered 06/11/18 09:16:58 Page 6 of 10

12. l on behalf of the Related Debtors believe that the CRO Agreement is
extraordinarily overreaching and reflects a Wrongful attempt by the Bani< to exercise control over
the Borrowers. l on behalf of the Reiated Debtors believe that the Bank~Appointed CRO is a
financiai. consultant, and that, upon the Bank~Appointed CRG’s appointrnent, the Banl<»
Appointed CRO had no knowledge of the Rclated Debtors, the Related l)ebtors’ business
operations or the Related Debtors’ industly. Nevertheless, the Banl<~Appointed CRO took also
immediately after his appointment acts to change dramatically the Rel.ated Debtors’ operations,
such as by closing business operations, terminating employees and pursuing saies of assets,
without evaluating adequately the consequences ot`sucb acts on the Related Debtors’ enterprise
value Notwithstanding the Bank-Appointed CRO’s lack oi` any meaningful knowledge ol"the
Related Debtors’ business or the Related Det)tors’ industry, the Banl<._~Appointed CRO has not
employed me, nor even consulted in any meaningful manner with me regarding the operations of
the Reiated Debtors despite the fact that l founded the Related Debtors and have a substantiai
amount of knowledge regarding the financial affairs of the Related Debtors and the Related
Debtors’ industry

ll 'l`he acts taken by the Banl<~Appointed CRO have impaired substantially the
operations of the Related l)ebtors and have devalued the assets of the Related Debtors. 'l`he
Bank.*Appointed CRO has alienated major customers of the Related Debtors and key employees
ot`the Related Debtors. ln effect, the Banl<-Appointed CRO has acted to liquidate, in a negligent
and imprudent mannerg the Related Debtors’ assets for the benefit ot`the Banlt»Appointed CRO’s
“benefactor” in this case, the Bank, to the detriment of the Related De`btors and the Related
l)ebtors’ other creditors

l.d. By reason oi." the negligent and ill~advised acts taken by the Banfs-Appointed CRO,
substantial damage has been done to the operations of the l{elated Debtors. l on behalf of the
`Related Debt.ors believe that, it`the Bank~Ap;_)ointed CRO were allowed to continue to manage
the Relatcd Debtors" financial affairs, the viability ot` the Related l)ebtors Would be impaired
greatly, if not destroyed, with substantial and irrevocable injury being caused to the Related

Debtors and their creditors

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Case 18-50609-btb Doc 15 Entered 06/11/18 09:16:58 Page 7 of 10

15. l on behalf oti`tlie Related Debtors believe that the Banl<»Ap}_)ointed CRO and the
l?»anlrJ acting in concert, took control of the Related l)ebtors and Were acting to liquidate the
Related Debtors’ assets for substantially less than the value ot` the Related Debtors’ assets, for the
benefit of the Bank, hutto the severe detriment of the Related Debtors and the Related Debtors’
other creditors Accordingly, in order to protect and preserve the value ol`the Related Debtors’
assets for the benth ol"the Related Debtors’ creditors, on lane 7, 2018, the l{elated Debtors
terminated the employment ol`the Bank»Appointed CRO and reappointed former senior
inanagement, led by me as president o:t`the corporate Related Debtors and me as managing
member of the limited liability company Related Debtors.

16. In addition, the l{elated Debtors have engaged .l. l\/lichael lssa ot`GlassRatner
Advisoiy & Capi.tal Grou.p, Li..,C, a very experienced financial turnaround expert With knowledge
ot` the Re.lated Debtors’ indu.stry, as Chiel` Restructuring O:li`t`icer to manage the Related Debtors’
reorganizations and to administer the Related Debtors’ Chapter l l cases l understand and
believe that Mr. lssa has served as a financial consultant or advisor or in other capacities in more
than lOO Chapter ll cases, has acted as a chief restructuring officer or as a trustee in a number of
Chapter l l cases, and that he is very capable ol"leading the Related Debtors’ el"l;`oits to reorganize
their financial affairs t`or the benefit of all ol`the Related Debt'ors’ creditors

l7. l understand that numerous similar, it`not identical, applications, bearings and
orders Will be involved in these cases .loi.nt administration xviii avoid Wasting resources Which
would result though duplication of effort it" the cases involving the Related Debtors Were to
proceed separately

l.S. l understand and believe the Related Debtors’ creditors stand to benefit from the
increased ei”iicienc§,f ot` administration anticipated throughjoint administration because they Will
not be forced to review and separately respond to substantially similar applications motions,
complaints and other pleadings that Would otherwise be filed in separate cases l\/loreover, joint
administration Will permit each of the Related Debtors to respond more ellici.ently to the demands
ot` their credi_tors, and Will reduce attorneys’ fees, copying costs, mailing costs and other costs ol`

administering the cases

 

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CaSe 18-50609-btb Doc 15 Entered 06/11/18 09:16:58 Page 8 of 10

19. Attached hereto as Exhibit “I” and incorporated herein by this reference is the
i"orm of case caption to be used in tho jointly administered cases

1 declare under penafty of porqu under the laws of the United States ofAmerica that the
foregoing is true and coz'rect to the best of my knowledge.

Execut@d this 8“‘ day of Juno 201 8.
/S/ Da.vz'a’ C. Howeff

 

Davi_d C. Howell

 

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CaSe 18-50609-btb Doc 15 Entered 06/11/18 09:16:58 Page 9 of 10

 

 

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Page 10 of 10

ROBERT B. OPERA - California State Bar No. 101 182

ropera@vvcglilaw.com
WINTI“IR()P COUCHO'I`
GOLUBOW H()LLANDER, LLP
1301 Dove Street, Suite 500
Newport Beaoh, CA 92660

Telephone: (949) 720»4100/Fac3imile: {949) 720-41 l l

STEPHE,N R. HARRIS - Nevada State Bar No. 001463

steve@liarrislam‘eno.com
HARRIS LAW PRACTICE LLC
6151 Lakeside Drive, Suite 2100
Reno, NV 39511

Tolephone: (775) 786~7600

[Propose<;l] General Insolvency Counsel
for Debtors and Debtors-ia-Possession

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

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l:} X-TREMI~: BULLETS, INC.,
a Nevada col'poration,
ij AMMo 11vo WoRLDWIDE, 11\1C.,
an lclalio corpoi'ation,
[:] CLEARWATP;R BULLET, mc.,
an Idaho corporation,
lj FREEDOM MUNITIONS, LLC,
an Idaho limited liability compauy,
[:} HoW'ELL MACHINB, 1NC.,
an Idaho oorporation,
[:l 1~1oWaLL MUNIT;@NS &
TECHNOLOGY, INC.,
an Iclaho corporation,
l:l LEWIS~CLARK AMMUNITION AND
CGMPONENTS, LLC,
an ldaho limited liability oompany,
l:] COMPONENTS EXCl-IANGE, LLC, an
Idaho limited liability company,
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Dobtors and
DobtorS-in~PossesSion.

 

 

Joiutiy A<:lministoi'ed under
Caso No. 18~50609~btb with

Case Nos. 18-50610~btb; 18~50612~130:);
18-50613»btb; 18-50614»btb; 13-50615-1)‘£1);
18~50616»1')0); and 18-5061?'»btb

Chapter ll Proceedirigs
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DATE:
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